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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

TERESA BLOODMAN, Parent and Natural Guardian
of John Doe, a minor child                                                             PLAINTIFF

vs.                                  No. 4:11-cv-00818-JMM

DR. TOM KIMBRELL, Arkansas Department of Education,
Individually Named and Official Capacity;
DR. JERRY GUESS, Superintendent, Pulaski County Special
School District, Individually Named and Official Capacity;
DR. TAMEKA BROWN, Principal, Maumelle High School,
Individually Named and Official Capacity;
MICHAEL SHOOK, Coach, Maumelle High School,
Individually Named and Official Capacity;
GROVER GARRISON, Coach, Maumelle High School,
Individually Named and Official Capacity;
SHERMAN COX, Athletic Director, Maumelle High School,
Individually Named and Official Capacity,                                          DEFENDANTS


       RESPONSE TO PLAINTIFF’S MOTION FOR RECONSIDERATION

       Separate Defendants, Dr. Jerry Guess, Dr. Tameka Brown, Michael Shook, Grover Garrison

and Sherman Cox, by their attorneys, Bequette & Billingsley, P.A., for their Response to Plaintiff’s

Motion for Reconsideration, allege and state:

       1.      Separate Defendants admit the existence of the Motion for Protective Order referred

to in paragraph 1 of Plaintiff’s Motion, which speaks for itself. Separate Defendants deny the

remaining allegations set forth in paragraph 1 of Plaintiff’s Motion.

       2.      Separate Defendants are without sufficient information to admit or deny the

allegations set forth in paragraph 2 of Plaintiff’s Motion and therefore deny same.

       3.      Separate Defendants admit the existence of the docket entries referred to in

paragraphs 3 and 4 of Plaintiff’s Motion, which speak for themselves. Separate Defendants deny

the remaining allegations set forth in paragraphs 3 and 4 of Plaintiff’s Motion.
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                    4.                  The allegations set forth in paragraph 5 do not require a response.

                    WHEREFORE, Separate Defendants, Dr. Jerry Guess, Dr. Tameka Brown, Michael Shook,

Grover Garrison and Sherman Cox, pray that Plaintiff’s Motion for Reconsideration be denied; for

their attorney’s fees and costs incurred herein; and for all other appropriate relief.

                                                                                  Respectfully submitted,

                                                                                  /s/ Jay Bequette
                                                                                  Bar Number 87012
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                                                                                  Attorneys for Separate Defendants Dr. Jerry Guess,
                                                                                  Dr. Tameka Brown, Michael Shook, Grover Garrison
                                                                                  and Sherman Cox


                                                                       CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2012, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following:

Teresa Bloodman, Esq.                                                teresabloodman@yahoo.com

Scott P. Richardson, Esq.                                            scott.richardson@arkansasag.gov; agcivil@arkansasag.gov;
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                                                                                  /s/ Jay Bequette
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